
46 So.3d 99 (2010)
David E. TURNER, Petitioner,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Respondent.
No. 1D10-1540.
District Court of Appeal of Florida, First District.
October 6, 2010.
David E. Turner, pro se, Petitioner.
Kathleen Von Hoene, General Counsel, Florida Department of Corrections, and Sheron Wells, Assistant General Counsel, Tallahassee, for Respondent.
PER CURIAM.
David E. Turner seeks mandamus relief to compel the circuit court to rule on a petition for writ of mandamus he filed in that forum. Based on the matters shown in respondent's response to our order to show cause, we conclude that the circuit court is taking reasonable measures to dispose of the petition below, and any delay in ruling on the matter has not been unreasonable. Accordingly, the petition for writ of mandamus is DENIED. Nonetheless, we encourage the circuit court to rule on Turner's petition as promptly as circumstances permit.
WOLF, ROBERTS, and WETHERELL, JJ., concur.
